









Dismissed and Memorandum Opinion filed October 14, 2004









Dismissed and Memorandum Opinion filed October 14,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00611-CR

____________

&nbsp;

CEDRIC LATROY BULLARD,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
183rd District Court

Harris County, Texas

Trial Court Cause No. 952,775

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of possession
of a controlled substance.&nbsp; In accordance
with the terms of a plea bargain agreement with the State, the trial court
sentenced appellant on June 3, 2004, to confinement for two years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed October 14, 2004.

Panel consists of Justices
Anderson, Hudson, and Frost.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





